       Case 5:19-cv-02311-JWH-ADS Document 43 Filed 04/19/21 Page 1 of 1 Page ID #:353




                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

 AARON ALAN FALLS,                                            CASE NUMBER

                                                                      5:19-02311 JWH (ADS)
                                               PLAINTIFF(S)
                              v.
 ALYSSA VERNAL, et al.,                                             ORDER DIRECTING SERVICE OF
                                                                   PROCESS BY THE UNITED STATES
                                                                             MARSHAL
                                             DEFENDANT(S).



       A request and declaration having been presented in compliance with the provisions of 28 U.S.C. § 1915;
and an Order having been filed permitting commencement of suit without prepayment of filing fees;

       IT IS HEREBY ORDERED that the United States Marshal is authorized to proceed with service of
process upon the following defendants only without prepayment of cost, until further Order of the Court:

Deputy Perez                                                            ✘ individually
                                                                        G                    G official capacity
Alyssa Vernal                                                           ✘ individually
                                                                        G                    G official capacity
County of Riverside                                                     G individually       ✘ official capacity
                                                                                             G
Riverside County Sheriff's Department                                   G individually       ✘ official capacity
                                                                                             G
                                                                        G individually       G official capacity
                                                                        G individually       G official capacity
                                                                        G individually       G official capacity
                                                                        G individually       G official capacity

       Upon receipt of this order, the United States Marshal may request that the defendant(s) waive service. If
a waiver of service is not returned by a defendant within thirty (30) days of the date of mailing a request for
waiver, the United States Marshal shall personally serve process upon that defendant.



 April 19, 2021                                          /s/ Autumn D. Spaeth
Date                                                    United States Magistrate Judge




CV-35 (11/96)         ORDER DIRECTING SERVICE OF PROCESS BY THE UNITED STATES MARSHAL
